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13 Attorneys for Defendant Nutiva, Inc.
14
15                                    UNITED STATES DISTRICT COURT
16                               NORTHERN DISTRICT OF CALIFORNIA
17 SHIRIN DELALAT, on behalf of herself,             Case No. 4:16-cv-00711 HSG-KAW
18 all others similarly situated, and the general
   public,                                           Hon. Haywood S. Gilliam, Jr.
19
                 Plaintiff,
20                                                   DECLARATION OF WILLIAM P.
                 vs.                                 COLE IN SUPPORT OF
21
                                                     DEFENDANT’S OPPOSITION TO
22 NUTIVA, INC.,                                     PLAINTIFF’S MOTION FOR CLASS
                                                     CERTIFICATION
23
24                     Defendant.                    Date:    February 8, 2018
                                                     Time:    2:00 p.m.
25
                                                     Place:   Courtroom 2, 4th Floor
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     Case No. 4:16-cv-00711-HSG-KAW              -1-
         DECLARATION OF WILLIAM P. COLE IN SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFF’S
                                 MOTION FOR CLASS CERTIFICATION
           Case 4:16-cv-00711-HSG Document 128-1 Filed 12/01/17 Page 2 of 5



 1            I, William P. Cole, declare as follows:
 2            1.        I am an attorney with Call & Jensen, APC, counsel for Defendant Nutiva,
 3 Inc. in this action. I make this Declaration based on my own personal knowledge and
 4 could competently testify to the facts stated herein if called to do so.
 5            2.        Attached hereto as Exhibit 1 is a true and correct copy of excerpts of the
 6 Deposition of Plaintiff Shirin Delalat, taken in this action on October 2, 2017.
 7      3.     Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the
 8 Deposition of J. Michael Dennis, taken in this action on August 29, 2017.
 9            4.       Attached hereto as Exhibit 3 is a true and correct copy of excerpts of the
10 Deposition of Colin Weir, taken in this action on August 23, 2017.
11      5.     Attached hereto as Exhibit 4 is a true and correct copy of an Expert Report
12 of Dr. Kent D. Van Liere, dated July 7, 2017. [will be filing redacted and unredacted
13 versions; co-counsel providing the redacted version]
14            6.       Attached hereto as Exhibit 5 is a true and correct copy of the Rebuttal
15 Declaration of Dr. Denise N. Martin, dated July 7, 2017. [will be filing redacted and
16 unredacted versions; co-counsel providing the redacted version]
17            7.       Attached hereto as Exhibit 6 is a true and correct copy of the Expert
18 Report of Hal Poret in this matter, excepting Appendix D.
19      8.      Attached hereto as Exhibit 7 is a copy of “Declaration of Jack Fitzgerald
20 in Support of EX PARTE Application for Preliminary Approval of Class Action
21 Settlement” (excluding exhibits thereto), Christine Cumming, on behalf of herself, all
22 others, et al v. BetterBody Foods & Nutrition, LLC, Case No. 37-2016-00019510-CU-
23 BT-CTL in the Superior Court of the County of San Diego.
24            9.       Attached hereto as Exhibit 8 is a true and correct copy of N. Bhavsar, et
25 al., The diverse nature of saturated fats and the case of medium-chain triglycerides:
26 how one recommendation may not fit all, Curr Opin Clin Nutr Metab Care 2016, 19:81-
27 87, as produced by Plaintiff Shirin Delalat to Nutiva in discovery in this action.
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     Case No. 4:16-cv-00711-HSG-KAW              -2-
         DECLARATION OF WILLIAM P. COLE IN SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFF’S
                                 MOTION FOR CLASS CERTIFICATION
           Case 4:16-cv-00711-HSG Document 128-1 Filed 12/01/17 Page 3 of 5



 1            10.      Attached hereto as Exhibit 9 is a true and correct copy of D. Cardoso, et
 2 al., A coconut extra virgin oil-rich diet increases HDL cholesterol and decreases waist
 3 circumference and body mass in coronary artery disease patients, Nutr. Hosp. 2015;
 4 32(5):2144-2152, as produced by Plaintiff Shirin Delalat to Nutiva in discovery in this
 5 action.
 6            11.      Attached hereto as Exhibit 10 is a true and correct copy of C. Cox, et al.,
 7 Effects of dietary coconut oil, butter and safflower oil on plasma lipids, lipoproteins
 8 and lathosterol levels, European Journal of Clinical Nutrition (1998) 52, 650-654, as
 9 produced by Plaintiff Shirin Delalat to Nutiva in discovery in this action.
10            12.      Attached hereto as Exhibit 11 is a true and correct copy of Harvard Health
11 Letter, October 2012, as produced by Plaintiff Shirin Delalat to Nutiva in discovery in
12 this action.
13            13.      Attached hereto as Exhibit 12 is a true and correct copy of C. Dayrit,
14 Coconut Oil: Atherogenic or Not? (What therefore causes Atherosclerosis?), Philippine
15 Journal of Cardiology, July-September 2003, Volume 31 Number 3:97-104, as
16 produced by Delalat to Nutiva in discovery in this action.
17       14. Attached hereto as Exhibit 13 is a true and correct copy of ESC: Huge
18 Diet Study Shows Carbs, Not Fats are the Problem
19 (www.medpagetoday.com/meetingcoverage/esc/67566).
20            15.      Attached hereto as Exhibit 14 is a true and correct copy of M. Dehghan, et
21 al., Associations of fats and carbohydrate intake with cardiovascular disease and
22 mortality in 18 countries from five continents (PURE): a prospective cohort study,
23 Lancet 2017, Vol. 390:2050-2062.
24      16. Attached hereto as Exhibit 15 is a true and correct copy of “Declaration of
25 Shirin Delalat in Support of Motion for Substitution as Plaintiff Pursuant to Fed. R.
26 Civ. P. 25(a)(1)”, in Khosrow Delalat v. Fountain Valley Regional Hospital and
27 Medical Center, et al., Case No. 10-CV-1273-CAB (NLS) in the United States District
28 Court for the Southern District of California.
     Case No. 4:16-cv-00711-HSG-KAW              -3-
         DECLARATION OF WILLIAM P. COLE IN SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFF’S
                                 MOTION FOR CLASS CERTIFICATION
           Case 4:16-cv-00711-HSG Document 128-1 Filed 12/01/17 Page 4 of 5



1             17.      Attached hereto as Exhibit 16 is a copy of a document titled Statement of
2 Decision, bearing a file-stamp date of September 23, 2013, captioned In re TOBACCO
3 CASES II, JCCP 4042.
4             I declare under penalty of perjury that the foregoing is true and correct to the best
5 of my knowledge. Executed this 1st day of December, 2017, in Newport Beach,
6 California.
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                                                       By:/s/ William P. Cole
8                                                             William P. Cole
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     Case No. 4:16-cv-00711-HSG-KAW              -4-
         DECLARATION OF WILLIAM P. COLE IN SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFF’S
                                 MOTION FOR CLASS CERTIFICATION
           Case 4:16-cv-00711-HSG Document 128-1 Filed 12/01/17 Page 5 of 5



                                       CERTIFICATE OF SERVICE
1
              I hereby certify that on December 1, 2017, I electronically filed the foregoing document
2
3 described as DECLARATION OF WILLIAM P. COLE IN SUPPORT OF DEFENDANT’S
4 OPPOSITION TO PLAINTIFF’S MOTION FOR CLASS CERTIFICATION with the Clerk of
5 the Court using the CM/ECF System which will send notification of such filing via electronic mail to
6 all counsel of record.
7
8                                                      By:/s/ William P. Cole
                                                              William P. Cole
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     Case No. 4:16-cv-00711-HSG-KAW              -5-
         DECLARATION OF WILLIAM P. COLE IN SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFF’S
                                 MOTION FOR CLASS CERTIFICATION
